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                                            7906
                             United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
  vs.                                             §            Case No. 4:07cr42
                                                  §            (Judge Schell)
 ADAM RAY WATTS                                   §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

 waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

 and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

 of the Court. It is therefore,

         ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

         ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

         ORDERED that Defendant is sentenced to a term of imprisonment of eighteen (18) months

 with thirty-six (36) months of supervised release to follow. The Court recommends that Defendant

 be housed in the Bureau of Prisons, Seagoville Unit. The Court further imposes the following

 conditions:

         Within 72 hours of release from the custody of the Bureau of Prisons, the defendant shall
         report in person to the probation office in the district to which the defendant is released.

         While on supervised release, the defendant shall not commit another federal, state, or local
         crime, and shall comply with the standard conditions that have been adopted by the Court,
         and shall comply with the following additional conditions:

         The defendant shall provide the probation officer with access to any requested financial
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       information for purposes of monitoring fine payments and his efforts at maintaining lawful
       employment.

       The defendant shall not incur new credit charges or open additional lines of credit without
       the approval of the probation officer unless payment of any financial obligation ordered by
       the Court has been paid in full.

       The defendant shall not participate in any form of gambling unless payment of any financial
       obligation ordered by the Court has been paid in full.

       Under the guidance and direction of the U.S. Probation Office, the defendant shall participate
       in any combination of psychiatric, psychological, or mental health treatment as deemed
       appropriate by the treatment provider.

       The defendant shall not illegally possess a controlled substance, and shall refrain from any
       unlawful use of a controlled substance.

       The defendant shall be required to submit to a drug test within 15 days of release on
       supervised release, and at least two periodic drug tests thereafter, as directed by the probation
       officer.

       The defendant shall participate in a program of testing and treatment for drug abuse, under
       the guidance and direction of the U.S. Probation Office, until such time as the defendant is
       released from the program by the probation officer.

              .    SIGNED this the 28th day of January, 2013.




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                                                              RICHARD A. SCHELL
                                                              UNITED STATES DISTRICT JUDGE




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